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CAUSE NO:
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UNITED STATES DISTRICT COURT

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
MISSISSIPPI STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE Case No. 3:22-cv-734-DJP-HSL-LHS-
ADVANCEMENT OF COLORED PEOPLE; DR. FKB

ANDREA WESLEY; DR. JOSEPH WESLEY;
ROBERT EVANS; GARY FREDERICKS; PAMELA
HAMNER; BARBARA FINN; OTHO BARNES;
SHIRLINDA ROBERTSON; SANDRA SMITH,
DEBORAH HULITT; RODESTA TUMBLIN; DR.
KIA JONES; ANGELA GRAYSON; MARCELEAN
ARRINGTON; VICTORIA ROBERTSON,

Plaintiffs,

VS.

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES, #7: his official
capacity as Governor of Mississippi; LYNN FITCH, iz
her official capacity as Attorney General of
Mississippi, MICHAEL WATSON, in his official
capacity as Secretary of State of Mississippi,

Defendanis,
AND

MISSISSIPPI REPUBLICAN EXECUTIVE
COMMITTEE,

Intervenor-Defendant.

EXPERT REPORT OF JOHN R. ALFORD, Ph.D.

October 16, 2023

EXHIBIT
DX-1

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SCOPE OF INQUIRY

I have been retained by counsel for the defendants, as an expert to provide analysis related
to Gingles prongs 2 and 3, and racially polarized voting in the above-entitled action, which is a
challenge to the most recently adopted state legislative district maps for the State of Mississippi.
I have been asked by counsel to examine and respond to the report provided by the plaintiffs’
expert, Dr. Lisa Handley, and the associated data and materials provided in disclosure. My rate of
compensation in this matter is $600 per hour and my compensation does not depend on the outcome
of this lawsuit.

SUMMARY

The election analysis provided by Dr. Handley shows that Black and White voters provide
very different levels of support for Republican and Democratic candidates. The election analysis
does not show the same pattern in response to variation in the race of the candidates. The high
cohesion demonstrated by Black voters in these elections is not a function of Black voters
coalescing around Black candidates but rather is a function of cohesive Black voter preferences
for Democratic party candidates. Similarly, the tendency of White voters to vote cohesively
against Democratic candidates is not reserved for opposition to Black Democratic candidates but
is instead cohesive support for Republican candidates whether the Democratic candidate is White
or Black.

QUALIFICATIONS

Iam a tenured full professor of political science at Rice University. In my over thirty-five
years at Rice University, I have taught courses on redistricting, elections, political representation,
voting behavior, and statistical methods at both the undergraduate and graduate levels. I am the
author of numerous scholarly works on political behavior. These works have appeared in academic
journals such as the American Journal of Political Science, Journal of Politics, Science, Annual

Review of Political Science, Legislative Studies Quarterly, Annals of the American Academy of

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Political and Social Science, Political Psychology, and Political Research Quarterly.

Over the last thirty-five years, I have worked with numerous local governments on
districting plans and on Voting Rights Act issues. I have previously provided expert reports and/or
testified as an expert witness in voting rights and statistical issues in a variety of court cases in
Alabama, Arkansas, Florida, Georgia, Kansas, Louisiana, Michigan, Mississippi, New Mexico,
New York, Pennsylvania, Washington, and Wisconsin. The details of my academic background,
including all publications in the last ten years, and my work as an expert, including all cases in
which | have testified by deposition or at trial in the last four years, are covered in the attached CV
(Appendix A).

DATA AND SOURCES

In preparing my report, I have reviewed the reports filed by the plaintiffs’ expert Dr. Lisa
Handley. I have also relied for my report on the analysis, the associated documentation, and the
data provided to date by Dr. Handley.

METHODS

Dr. Handley and I both utilize the statistical technique of Ecological Inference (EI),
developed originally by Professor Gary King.! EI is a more efficient technique intended
specifically to improve on ecological regression (ER), the analysis technique previously used in
VRA lawsuits to assess voter cohesion and polarization. In a nutshell, traditional ecological
regression is a mathematical technique for estimating the single best fitting straight line that could
be drawn to describe the relationship between two variables in a scatter plot. Applied to voting
rights cases, the logic of ecological regression analysis is to determine to what degree, if any, the
vote for a candidate increases in a linear fashion as the concentration of voters of a given ethnicity
in the precincts increases. In contrast, King’s EI procedure utilizes a method of bounds analysis,

combined with a more traditional statistical method, to improve on standard ecological regression.

' King, Gary. (1997). A Solution to the Ecological Inference Problem. Princeton Univ. Press.
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While the details are mathematically complex, the differences mostly center on utilizing
deterministic bounds information contained in individual precinct results that would not be
exploited in ecological regression. In addition, EI relaxes the linear constraint that a traditional
ecological regression analysis would impose on the pattern across precincts. This combination in
EI of relaxing some assumptions and utilizing more information typically yields a more efficient
estimation of cohesion and polarization when compared to standard ecological regression,
although in many cases the results from EI are not substantively different than ER results for the
same election data.

In its original form, King’s EI could only be used to estimate voter support when there
were two racial groups (e.g., White and Black) and two candidates, hence the label “2 x 2 EI” often
applied to the original form. Often there are more than two racial groups (e.g., White, Black, and
Latino), or more than two possible vote choices. To accommodate these situations, one would
have to run an independent 2 x 2 EI analysis for each race of interest and for each candidate of
interest (and for the no voting category), an approach suggested by King and labeled the ‘iterative’
approach to “R x C” (Rows by Columns) estimation.

Shortly after suggesting the iterative method, King published a more advanced theoretical
approach to R x C estimation using a Multinomial-Dirichlet Bayesian technique. A fully Bayesian
implementation of this approach was viewed by King and his coauthors as computationally
impractical, given that it could take as long as a week or more to run a single model on the
computers available at that time, and they provided instead an implementation that relied on
nonlinear least-squares. Finally, in 2007 Lau and colleagues, taking advantage of advancements
in computing technology, implemented the fully Bayesian estimation procedure outline by King,

et al and provided a software module called “eiPack” that included the module ‘ei. MD.bayes’ that

* See Rosen, Jiang, King. and Tanner.. Bayesian and Frequentist Inference for Ecological Inference: The Rx
C Case, 55 STATISTICA NEERLANDICA 134 (2001).

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allowed for the estimation of the true Bayesian approach.> This is the implementation of E] R x C
that I have relied on here, and is also one of the techniques relied on by Dr. Handley for her analysis
in this case.‘
ELECTION ANALYSIS

I began my analysis with an attempt to replicate selected results of the RxC Ecological
Inference (EI) analysis provided by Dr. Handley in this case, using the election and voter data she
provided. My replication results matched very closely with the EI RxC estimates in Dr. Handley’s
report. To illustrate this, I provide below in Table 1 both my EI RxC estimates, and Dr. Handley’s
EI RxC estimates for the three judicial contests that she included in Appendix D of her report

Table 1: Replication of Handley EI RxC Analysis for Judicial Contests from Handley’s
Appendix D

Black Voters White Voters
Handley Handley
Candidate Appendix D Replication Appendix OD Replication
Contest Year Name Race ERC EIRxC towd HIG BRxC G@RxC lowci Hic
Supreme Court Central P1 2012 Banks B 53.3% 83.4% 82.1% 84.6% 8.7% 8.8% 7.6% 10.0%
Supreme Court Central P1 2012 Waller Ww 16.7% 16.6% 15.4% 17.9% 91.3% 91.2% 90.0% 92.4%
Supreme Court Southern P2 2016 Beam Ww 52.5% 52.5% 50.2% $4,8% 72.4% 72.4% 71.6% 73.2%
Supreme Court Southern P2 2016 Shareef B 47.5% 47.5% 45.2% 49.8% | 27.6% 27.6% 26.8% 28.4%
Supreme Court Central P1 2020 Griffis Ww 8.2% 8.1% 7.1% 9.3% 92.2% 92.4% 90.6% 94.1%
Supreme Court Central P1 2020 Westbrack 8 91.8% 91.9% 90.7% 92.9% 7.8% 7.6% 5.9% 9.4%

My replication results match the RxC estimates reported by Dr. Handley very closely, with
only the slight variation, typically only one-tenth of one percentage point, that one would expect
given the inherent variation associated with EI estimation. Because I am able to replicate her El
RxC results, and to avoid the implication that the differences in our conclusions stem from
methodological differences, I rely on the various numerical EI RxC results included in her report

and appendices for my discussion throughout this report.

3 See Lau, Olivia, Ryan T. Moore, and Michael Kellermann. "eiPack: Ecological Inference and Higher-Dimension
Data Management," R News. vol.7. no. 2 (October 2007).
4 The data programing required for the EI RxC analysis for this report was performed by my Rice colleague Dr. Randy
Stevenson under my direction and control.

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A. A Comparison of Three Presidential Elections

In Table 2 below, I report the results for the three most recent presidential elections. For
an overview of voter polarization, November presidential elections are a good place to start. These
elections are typically competitive, the same two candidates compete in every precinct, and the
analysis is not affected by local voting effects where votes for one candidate in a state or local
election might be boosted by ‘friends and neighbors voting’. The EI RxC estimates in Table 2 are
averages of the estimates across Dr. Handley’s seven areas of interest. The individual estimates
for each of the seven areas are included in her report as Appendix Al through Appendix A7.

Table 2: Presidential Election Results Report —
Averages of EI RxC Estimates across Handley’s Seven Areas of Interest

% %
Black White
Date Contest Candidate Name Party Race Support Support
Nov. 2012 Prestdent Obama/Biden D B/W 97.0 6.7

Romney/Ry an R W/w 2.4 928
Nov. 2016 President Clinton/Kaine D W/w 96.8 §5
Trump/Pence R W/W 2.3 93.6
Nov. 2020 President Biden/Harris D WA 96.6 74
Trump/Pence R W/W 2.6 92.0

The 2012 contest includes a Black Democrat running against a White Republican. The
2020 contest represents an intermediate type, which Dr. Handley includes in her analysis of
racially contested elections because, while the presidential candidates were both White, the
Democratic vice-presidential candidate, Kamala Harris, was Black. The 2016 contest completes
the pattern, with a White Democrat running against a White Republican at both the presidential
and vice-presidential level. If the race of candidates is a focus for Black voters, then we would
expect a clear ordering with Black voter support highest for the 2012 Obama/Biden ticket, lowest
for the 2016 Clinton/Kaine ticket, and somewhere in between for the 2020 Biden/Harris ticket.
Similarly, if the race of candidates is a focus for White voters, then we would expect White voter

support to follow the reverse ordering, with White opposition to the all-White 2016 Clinton/Kaine

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ticket the lowest and White opposition to the Black-led 2012 Obama/Biden ticket the highest.

Looking first at the estimates for Black voters we can see that in all three elections the
Democratic ticket gets a similarly high level of support, with only very modest variation, and in
fact all three estimates round to 97 percent. Turning to the estimated voting behavior of White
voters, we can see that in all three elections the Democratic ticket gets a similarly low level of
support, with only very modest variation. The lowest estimated support, at 5.5%, is for the all-
White 2016 Clinton/Kaine ticket, and the highest estimate of White support for the Democratic
ticket is 7.4% for the 2020 Biden/Harris ticket, followed closely by the 2012 Obama/Biden ticket
at 6.7%. In short, Black and White voters do appear to offer very different levels of support to
Democratic and Republican candidates, but there is virtually no difference in the levels of support
when we turn the focus to the mix of Black and White candidates in these two-party contested
presidential elections, and what slight differences exist do not fall in the order we would expect if
concerns for the race of the candidates was driving the behavior of either Black or White voters in
these contests.

B. All of Dr. Handley’s Statewide General Elections

In Appendix Al through Appendix A7 to her report in this case dated August 28, 2023, Dr.
Handley provides results from an El analysis for 17 statewide contests analyzed within each of her
seven geographically defined areas of interest. According to her report, she selected all 12 racially
contested elections in the years from 2011 to 2020 based on the additional probative value typically
accorded racially contested elections, and also added five non-racial contested elections from
2016, 2018, and 2019. For ease of comparison, I have produced a summary table that aggregates
Dr. Handley’s RxC EI estimate across the seven areas of interest. These average estimates for
Black and White voters for each of the 17 elections are reported in Table 3 below.

Table 3 shows that Black voters tend to provide cohesive support to Democratic candidates,

almost always in the 90 percent range, and that White voters, in turn, support Republican

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candidates, with White votes for the Republican candidates typically in the 80 to 90 percent range.
This is indeed partisan polarized voting, with Black voters providing highly cohesive support to
every Democratic candidate and White voters providing clearly cohesive support to every
Republican candidate.

What accounts for this remarkable stability in the divergent preferences of Black and White
voters across years and offices? It is clearly not Black voters’ preference for Black candidates or
White voters’ disinclination to vote for Black candidates. At 94.3 percent, the average Black
support for the 11 Black candidates identified in Dr. Handley’s analysis is indeed highly cohesive,
but so is slightly higher average 95.5 percent support for the five White Democratic candidates.
Similarly, the average White vote for Republican candidates in opposition to the 11 Black
Democrats is clearly cohesive, with only 6.9 percent of White voters crossing over to support the
Black Democratic candidates, but so is the average of only 9.1 percent of White voters crossing
over to support the White Democratic candidates.

Dr Handley acknowledges this fact, and notes that even this slight difference is driven
largely by a single contest. On page 12 of her report, she observes that “the average percentage of
White support for the Black-preferred White candidates is slightly higher than that for the Black-
preferred Black candidates: 9.1% of the White voters crossed over to vote for White candidates of
choice of Black voters (compared to 6.9% for the Black candidates preferred by Black voters).
This was driven in large measure by support for Jim Hood in the 2019 gubernatorial general

election contest — on average across the areas, 17.7% of White voters cast their votes for Hood.”

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Table 3: Racially Contested Statewide Elections Included in the Handley Report —
Averages of EI] RxC Estimates across Handley’s Seven Areas of Interest

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Mean A1-A7
Black White
Year Office Candidate Race Party Elrxe El rnc
2020 ~=—- President Joseph Bider/Kamala Harrs W/B D 96.6 74
2020 ~—- President Donald Trump/Michael Perce W/W R 2.6 92.0
2020 ~—~ President Others 08 0.5
2020 ~—*US.. Senate Mike Espy B D 97.0 10.5
2020 =U. Senate Cindy Hyde-Smith WwW R 2.2 88.6
2020 ~=—US. Senate Jimmy Edwards W L 08 0.9)
2019 Govemor Jim Hood W D 96.2 17.7
2019 Governor Tate Reeves WwW R 3.0 81.6)
2019 Governor Others 0.9 0.7
2019 = Lt. Governor Jay Hughes WwW D 93.5 8.2
2019 ~=Lt. Govemor Delbert Hosemann WwW R 6.5 91.8
2019 ~— Sec. of State Johnny DuPree B D 96.3 7.0
2019 ~~ See. of State Michael Watson WwW R 3.7 93.0;
2019 = Att. General Jennifer Riey Collms B D 96.3 77
2019 ~— Att. General Lynn Fitch WwW R 3.7 92.3
2019 = Treasurer Addie Lee Green B D 95.6 49
2019 = Treasurer David McRae WwW R 44 95.1
2019 = Ins. Comm. Robert Amos B D 95.5 46
2019 = Ins. Comm. Mike Chaney WwW R 45 95.4}
2019 Ag Comm. Rickey Cole WwW D 95.9 8.0
2019 Ag Comm. Andy Gipson WwW R 4.1 92.0
2018 U.S. Semte David Baria WwW D 95.0 6.2
2018 US. Senate Roger Wicker WwW R 3.9 92.8
2018 ULS. Semate Others 1.2 1.0
2018 U.S. Senate (special) Mike Espy B D 92.7 7.5
2018 U.S. Senate (special) Cindy Hyde-Smith WwW R 2.8 64.1
2018 U.S. Senate (special) Chris McDaniel Ww R 2.0 27.7
2018 U.S. Senate (special) Tobey Bernard Bartee B NP 2.4 0.7
2018  ULS. Senate (unoff) Mike Espy B D 97.1 73
2018 U.S. Senate (umoff) Cindy Hyde-Smith WwW R 2.9 92.7
2016 ~— President Hillary Cinton/Tim Kaine Why D 96.8 5.5
2016 President Donald Trump/Michael Pence W/W R 2.3 93.6
2016 ~—~ President Others 0.9 0.9
2015  Govemor Robert Gray B D 84.1 47
2015 Govemor Phil Bryant WwW R 14.5 94.7
2015 Govemor Shawn O'Hara WwW Ref 1.4 0.7
2015 Sec. of State Charles Graham B D 90.8 6.2
2015 = Sec. of State Delbert Hosemann WwW R 6.8 92.2
2015 Sec. of State Randy Waker Ref 2.4 1.6
2012 ~—- President Barack Obamany/Joe Biden B/V D 97.0 6.7
2012 President Mitt Rommey/Paul Ryan Wi/W OR 2.4 92.8
2012 ~=—- President Others 0.5 0.5
2011 Governor Johnny DuPree B D 94.8 8.6
2011 | Govemor Phil Bryant WwW R 5.2 91.4
B/W Voter
Difference

Mean Black Democratic Candidates 94.5 6.9 87.6

Mean White Democratic Candidates 95.5 9.1 86.3

Black/White Candidate Difference 1.0 2.2 -1.2
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Another way of summarizing polarization is to compute the difference between the White
and Black voter preferences. This gap is very large at 87.6 in the 11 contests with Black
Democratic candidates but is equally large at 86.3 in the five contests with White Democratic
candidates. Put another way, the difference in the voting support among Black and White voters
in a contest between two White candidates is highly polarized at a mean difference of 86.5% based
solely on the political party affiliation of the candidates. When an election is racially contested
the difference in the voting support among Black and White voters in a contest between the White
Republican and the Black Democrat candidate is highly polarized at a mean difference of 87.6%.
But when the racial cue is removed, and the election is between two White candidates, the mean
difference between the White Republican and the Black Democrat candidate is a nearly identical
86.3%. Removing the racial cue only reduces the mean difference by about one percentage point.
Whether a candidate is a Democrat or a Republican makes a huge, almost 90 percentage point,
difference to Black and White voters in these elections. Whether a candidate is Black or White
barely registers at only slightly above a single percentage point, and even that small difference
depends, as Dr. Handley notes, on a single contest.

C. State Legislative Elections

Dr. Handley includes an analysis of voting patterns in a selection of 19 state legislative
contests from 2015 and 2019. The partisan nature of the results is very similar to that discussed
above in her analysis of statewide elections, with Black voters preferring Democratic candidates
and White voters preferring Republican candidates. However, in these state legislative contests
she only includes racially contested elections, so the sort of comparison of White and Black
candidate support offered above is not possible here.

Summarizing the results for these contests Dr. Handley concludes on page 12 that “all 19
of the 2015 and 2019 state legislative elections that included both Black and White candidates were

racially polarized.” However, she does not offer any explanation of what definition of racially

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polarized is being applied in her report. In her earlier discussion of the statewide general elections, she
offers slightly more detail when she notes on page 11 that “Black voters were cohesive in supporting
their preferred candidates and White voters bloc voted against the candidates preferred by Black
voters.” She goes on to restate that point as “in other words, in all 11 of the general election contests
that included a Black candidate, in all seven of the areas studied, voting was consistently and starkly
racially polarized.” This definition points first to the second Ging/es prong in referencing Black voter
cohesion, and then to the third Ging/es prong in referencing White bloc voting. However, this definition
lacks any indication of what level of Black support for their preferred candidate, or what level of White
support for the opponent, meets her standard for cohesion. This is not an issue for her discussion of the
statewide general elections, as the levels of Black and White voter cohesion in two-party contests, as
seen above in Table 3, is always well above 80%.

That is not the case for the state legislative elections, where Black voter cohesion is below 80%
in multiple elections. For example, in the 2015 contest in House District 39, the estimated Black share
of the vote for the Democrat is 50.9% compared to 49.1% for the Republican candidate. This may
establish a preferred candidate but given that a 50/50 split is the complete absence of cohesion, and
that complete cohesion is a 100% unity of preference, this is simply not distinguishable from no
cohesion at all. Put another way, given that absent a perfect 50/50 tie, there will by definition always
be a preferred Black candidate, if simply having a preferred candidate was sufficient to establish
cohesion, then the Ging/es 2 threshold test would always be met and thus not actually constitute a
threshold test at all. Turning to the third Ging/es prong, a similar issue is present here. For
example, in the 2019 contest in House District 36, the estimated White share of the vote for the
Democrat is 49.2% compared to 50.8% for the Republican candidate. Again, this indicates little if any
evidence of cohesion voting on the part of White voters.

While neither the courts nor the political science literature agree on a bright line standard for
cohesion, applying two alternatives here is instructive. First, we could use a minimal 60% cohesion
threshold for Gingles 2, and then look to see if White bloc voting was sufficient to defeat the cohesively

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supported preferred candidate of Black voters in the election. By that standard only eight (42%) of the
19 state legislative contests are polarized. Applying a 75% cohesion standard (more cohesive than not)
would reduce the number of polarized contests to six (32%) of 19 contests. By either standard, the
candidate cohesively preferred by Black voters is not being defeated by White voters.

D. Primaries

Dr. Handley also analyzed voting in eight racially contested Democratic primary contests
(as reported in her Appendix C). The results for those contests are reproduced below in Table 4.
As Dr. Handley noted on page 12 of her report with regard to the earliest of these contests, “the
2011 gubernatorial primary and primary runoff for governor were both racially polarized. Black
voters supported the Black candidate, Johnny DuPree, and White voters supported Bill Luckett in
both contests.” This is what we would expect to see throughout these contests if voting was racially
polarized.

However, the 2011 primary and runoff are the only polarized contests in this table. All of
the more recent elections show a very different pattern. In the 2012 U.S. Senate primary contest,
the preferred candidate of Black voters was one of the two White candidates, Albert Gore Jr., who
was also the preferred candidate of White voters. Despite the presence of a Black candidate, Will
Oatis, the two White candidates together received an estimated 82% of the Black vote and a similar

- 70% of the White vote. In the 2014 U.S. Senate contest, the preferred candidate of Black voters
was one of the three White candidates, Travis Childers, who was also the preferred candidate of
White voters. Despite the presence of a Black candidate, Bill Marcy, the three White candidates

together received an estimated 86% of the Black vote and a similar 85% of the White vote.

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Table 4: RxC EI Estimates from the Statewide Democratic Primaries Included in Appendix
C of Dr. Handley’s Report

Democratic Actual El rxe

Year Office Primary Candidates Race Vote Black White
2019 Govemor Jim Hood Ww 69.0 66.5 68.1
2019 Governor Michael Brown W 11.0 13.1 10.0]
2019 Governor Velesha Willams B 6.9 6.8 5.8
2019 Govemor Robert Shuler Smith B 6.7 74 6.3
2019 Governor Others 6.4 6.2 97
2019 Governor White Candidates 79.6 78.1
2019 Governor Blck candidates 14.2 12.1
2018 US. Senate Howard Sherman WwW 31.8 33.7 21.1
2018 US. Senate David Baria WwW 31.0 23.7 43.5
2018 US. Senate Omern Scott B 242 29.7 17.9]
2018 US. Semte Others 13.0 13.0 17.6
2018 US. Senate White Candidates 57.4 64.6
2015 Governor Robert Gray B 50.8 45.2 62.3
2015 Governor Vicki Skater WwW 304 30.1 28.8
2015 Governor Valerie Smartt Short B 18.8 24.7 8.9
2015 Governor Black candidates 699 71.2
2015 Lt Governor Tim Johnson WwW 75.8 70.0 87.4
2015 Lt Govemor Jelani Barr B 242 30.0 12.6
2014 ~=~US. Senate Travis Childers WwW 74.0 72.3 578
2014 ~US. Senate Bill Marcy B 12.1 13.8 146
2014 ~USS. Senate William Bond Compton Jr. WwW 9.9 98 143
2014 USS. Senate Jonathan Rawl WwW 41 42 13.3
2014 ~US. Semte White Candidates 86.3 $5.4
2012 +~USS. Semate Albert Gore Jr. WwW 56.8 57.2 35.0}
2012 ~US. Senate Roger Weiner WwW 244 244 348
2012 ~US. Senate Will Oatis B 18.8 18.4 30.3
2012 ~US. Senate White Candidates 816 69.8
2011 Governor Johnny DuPree B 43.6 643 15.7
2011 Governor Bill Luckett Ww 392 238 58.5
2011 Governor William Bond Compton Jr. WwW 9.8 8.2 12.7
2011. Govemor Guy Dale Shaw Ww 7.3 3.7 13.5
2011 Governor (runoff) Johnny DuPree B 55 85.9 188
2011 Governor (runoff) _ Bill Luckett W 45 14.1 $1.2

In the 2015 Lt. Governor contest, the preferred candidate of Black voters was the White

candidate, Tim Johnson, who received an estimated 70% of the Black vote, despite the presence

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of a Black candidate, Jelani Barr. Johnson was also the preferred candidate of White voters. In the
2015 primary contest for Governor, the preferred candidate of both Black and White voters was a
Black candidate, Robert Gray. There was also another Black candidate, Valerie Smartt Short, and
together the two Black candidates received an estimated 70% of the Black vote. Those two Black
candidates also received a similar 71% of the White vote, despite the fact that there was a White
candidate on the ballot.

In the 2018 U.S. Senate primary contest, the preferred candidate of Black voters was one
of the two White candidates, Howard Sherman. The preferred candidate of White voters was
another White candidate, David Baria. Despite the presence of a Black candidate, Omeria Scott,
the two White candidates together received an estimated 57% of the Black vote and a similar 65%
of the White vote. In the 2019 U.S. primary contest for Governor, the preferred candidate of Black
voters was one of the two White candidates, Jim Hood, who was also the preferred candidate of
White voters. Despite the presence of two Black candidates, the two White candidates together
received an estimated 80% of the Black vote and a similar 78% of the White vote.

A recent Republican primary not covered in Dr, Handley’s report is also instructive. The
newly drawn Mississippi House of Representatives in District 20 in Desoto County is an 81%
White district. The 2023 Republican primary was racially contested with one Black candidate,
Rodney Hall, and one White candidate, Charlie Hoots. Hall was the winner with 55% of the vote,
and since no Democrats or independents filed for the seat, Hall will automatically be elected to the
House in November. While the number of precincts in the district is too small to allow a useful EI
analysis, it is clear from the results that Hall's selection was not blocked by White Republican
voters.

As noted above, while the general elections show a high degree of partisan polarization,
they do not indicate that the race of the candidates makes much difference at all. The results for
the primaries are entirely consistent with that general election conclusion. Despite the fact that

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these are all racial contested elections, the race of the candidates appears to have little, if any,
systematic influence on the voting behavior of either Black or White voters.
E. Judicial Contests

Dr. Handley also includes an analysis of three selected judicial contests, all of which are
racially contested. Table 1 above provides Dr. Handley’s EI RxC results for those three contests. One
of the three contests was not polarized, with both Black and White voters favoring the same candidate,
Dawn Beam. The other two contests looked more like the statewide general elections, with Black and
White voters favoring different candidates. This is clearly a very small sample with only three selected
judicial contests, and a very mixed result as well. However, the implication of the analysis is further
limited by the fact that the elections are not free of partisan influence. Dr. Handley asserts on page 13
that the “polarization found in two-thirds of these judicial contests cannot be explained by party simply
because the election contests were nonpartisan.” However, while the Mississippi state judicial election
contests are nominally non-partisan, the candidates and the campaigns are certainly not non-partisan.
This fact is widely acknowledged, and disputes about partisan appeals, ads, and support have been
common over the last decade, including court battles over these issues. In the 2020 Place 1 Central
District contest, the incumbent T. Kenneth Griffis was appointed by a Republican Governor, endorsed
by the state Republican Party, and donated to and received donations from fellow Republican elected
officials. His opponent, Latrice Westbrooks, was sued along with U.S. Representative Bennie
Thompson in 2016 by her opponent in a Court of Appeals election contest. According to a December
1, 2016, Jackson Free Press news story:

James says her opponent violated state laws that require nonpartisan judicial
races. James filed a lawsuit Monday against Latrice Westbrooks, who won the election;
and Democratic U.S. Rep. Bennie Thompson, who campaigned for Westbrooks. The
lawsuit says Westbrooks and Thompson "willfully and intentionally" aligned themselves
politically by appearing together at events and by distributing a sample ballot
recommending that people support Thompson in the U.S. House race and Westbrooks in

the judicial race. Although Mississippi judicial candidates run without party labels, it is
common for politicians from both parties to get involved. For example, Republican Gov.

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Phil Bryant endorsed Jack Wilson, who won a runoff Tuesday for another seat on the Court

of Appeals. °

In the 2012 Place 1 Central District contest, the incumbent William Waller was a Republican
and ran as a Republican candidate for Governor in the 2019 Republican primary. His opponent, Earle
Banks, a Democratic member of the Mississippi House of Representatives, was first elected as a
Democrat on the partisan ballot in 1993 and has been reelected as a Democrat ever since then. The
voting patterns in these two elections therefore match those seen in the statewide general elections,
with Black voters favoring the Democrat and White voters favoring the Republican, and despite Dr.
Handley’s assertion to the contrary, are compatible with a partisan explanation.

F. District Performance

Beginning on page 14 of her report, Dr. Handley comments on the performance of various
districts in various plans using an ‘Effectiveness Score’ that she calculates based on past elections. As
she defines this score on page 15, the score “is simply the average vote share received by the 11 Black-
preferred Black candidates across the 11 contests in each of the individual districts. This score allows
me to determine how Black-preferred Black candidates are likely to fare in the proposed districts”.
She goes on to explain that “a score of less than .5 means that the average vote share received by the
11 Black-preferred Black candidates is less than 50% and the district is not likely to provide Black
voters with an opportunity to elect their candidates of choice”. Of course, all of these Black candidates
are also the Democratic candidates in those general elections. As discussed above, there is very little
difference in the estimated voting patterns of either Black or White voters based on the race of the
candidates. As such, Dr. Handley’s ‘Effectiveness Index’ is simply the expected Democratic share of
the general election vote in the district. Democratic majority districts will ‘perform’, and Republican

majority districts will not.

5 “James Challenges Appeals Court Loss, Cites Partisan Politics.” Jackson Free Press | Jackson, MS,
www jacksonfreepress.com/news/2016/dec/0 1 jfames-challenges-appeals-court-loss-cites-partisan.

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SUMMARY CONCLUSIONS

Dr. Handley’s report provided analysis that showed that Black Democratic candidates draw
cohesive support from Black voters, but as the analysis clearly demonstrates, so do White
Democratic candidates. Likewise, Black Democratic candidates draw little support from White
voters, but neither do White Democratic candidates. The high cohesion demonstrated by Black
voters in these elections is not a function of Black voters coalescing around Black candidates but
rather is a function of cohesive Black voter preferences for Democratic party candidates.
Similarly, the tendency of White voters to vote cohesively against Democratic candidates is not
reserved for opposition to Black Democratic candidates but is instead cohesive support for
Republican candidates whether the Democratic candidate is White or Black.

I reserve the right to amend or supplement my report considering additional facts,
testimony and/or materials that may come to light. Pursuant to 28 U.S.C. 1976, I declare under
penalty or perjury that foregoing is true and correct according to the best of my knowledge,

information and beliefs.

October 16, 2023.

f L,
John R. Alford, Ph.D

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Appendix A

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John R. Alford
Curriculum Vitae
September 2023

Dept. of Political Science
Rice University - MS-24
P.O. Box 1892

Houston, Texas 77251-1892
713-348-3364

jra@rice.edu

Employment:

Professor, Rice University, 2015 to present.

Associate Professor, Rice University, 1985-2015.

Assistant Professor, University of Georgia, 1981-1985.

Instructor, Oakland University, 1980-1981.

Teaching-Research Fellow, University of Iowa, 1977-1980.

Research Associate, Institute for Urban Studies, Houston, Texas, 1976-1977.

Education:

Ph.D., University of Iowa, Political Science, 1981.

M.A., University of Iowa, Political Science, 1980.

MLP.A,, University of Houston, Public Administration, 1977.
B.S., University of Houston, Political Science, 1975.

Books:
Predisposed: Liberals, Conservatives, and the Biology of Political Differences. New York: Routledge, 2013. Co-authors,
John R. Ilibbing and Kevin B. Smith. (24 Edition under contract)

Articles:
“Political Orientations Vary with Detection of Androstenone,” with Amanda Friesen, Michael Gruszczynski,
and Kevin B. Smith. Politics and the Life Sciences. (Spring, 2020).

“Intuitive ethics and political orientations: Testing moral foundations as a theory of political ideology.” with
Kevin Smith, John Hibbing, Nicholas Martin, and Peter Hatemi. American Journal of Political Science.
(April, 2017).

“The Genetic and Environmental Foundations of Political, Psychological, Social, and Economic Behaviors: A
Panel Study of Twins and Families.” with Peter Hatemi, Kevin Smith, and John Hibbing. Twin Research and
Human Genetics. (May, 2015.)

“Liberals and conservatives: Non-convertible currencies.” with John R. Hibbing and Kevin B. Smith.
Behavioral and Brain Sciences (January, 2015).

“Non-Political Images Evoke Neural Predictors Of Political Ideology.” with Woo-Young Ahn, Kenneth T.

Kishida, Xiaosi Gu, Terry Lohrenz, Ann Harvey, Kevin Smith, Gideon Yaffe, John Hibbing, Peter Dayan, P.
Read Montague. Current Biology. (November, 2014).

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“Cortisol and Politics: Variance in Voting Behavior is Predicted by Baseline Cortisol Levels.” with Jeffrey
French, Kevin Smith, Adam Guck, Andrew Birnie, and John Hibbing. Physiology & Behavior. (June, 2014).

“Differences in Negativity Bias Underlie Variations in Political Ideology.” with Kevin B. Smith and John R.
Hibbing. Behavioral and Brain Sciences. (June, 2014).

“Negativity bias and political preferences: A response to commentators Response.” with Kevin B. Smith and
John R. Hibbing. Behavioral and Brain Sciences. (June, 2014).

“Genetic and Environmental Transmission of Political Orientations.” with Carolyn L. Funk, Matthew Hibbing,
Kevin B. Smith, Nicholas R. Eaton, Robert F. Krueger, Lindon J. Eaves, John R. Hibbing. Political
Psychology, (December, 2013).

“Biology, Ideology, and Epistemology: How Do We Know Political Attitudes Are Inherited and Why Should
We Care?” with Kevin Smith, Peter K. Hatemi, Lindon J. Eaves, Carolyn Funk, and John R. Hibbing.
American Journal of Political Science. (January, 2012)

“Disgust Sensitivity and the Neurophysiology of Left-Right Political Orientations.” with Kevin Smith, John
Hibbing, Douglas Oxley, and Matthew Hibbing, PlosONE, (October, 2011).

“Linking Genetics and Political Attitudes: Re-Conceptualizing Political Ideology.” with Kevin Smith, John
Hibbing, Douglas Oxley, and Matthew Hibbing, Political Psychology, (June, 2011).

“The Politics of Mate Choice.” with Peter Hatemi, John R. Hibbing, Nicholas Martin and Lindon Eaves,
Journal of Politics, (March, 2011).

“Not by Twins Alone: Using the Extended Twin Family Design to Investigate the Genetic Basis of Political
Beliefs” with Peter Hatemi, John Hibbing, Sarah Medland, Matthew Keller, Kevin Smith, Nicholas Martin, and
Lindon Eaves, American Journal of Political Science, (July, 2010).

“The Ultimate Source of Political Opinions: Genes and the Environment” with John R. Hibbing in
Understanding Public Opinion, 3rd Edition eds. Barbara Norrander and Clyde Wilcox, Washington D.C.:
CQ Press, (2010).

“Is There a ‘Party’ in your Genes” with Peter Hatemi, John R. Hibbing, Nicholas Martin and Lindon Eaves,
Political Research Quarterly, (September, 2009).

“Twin Studies, Molecular Genetics, Politics, and Tolerance: A Response to Beckwith and Morris” with John
R. Hibbing and Cary Funk, Perspectives on Politics, (December, 2008). This is a solicited response to a
critique of our 2005 APSR article “Are Political Orientations Genetically Transmitted?”

“Political Attitudes Vary with Physiological Traits” with Douglas R. Oxley, Kevin B. Smith, Matthew V.
Hibbing, Jennifer L. Miller, Mario Scalora, Peter K. Hatemi, and John R. Hibbing, Science, (September 19,
2008).

“The New Empirical Biopolitics” with John R. Hibbing, Annual Review of Political Science, (June, 2008).
“Beyond Liberals and Conservatives to Political Genotypes and Phenotypes” with John R. Hibbing and Cary

Funk, Perspectives on Politics, (une, 2008). This is a solicited response to a critique of our 2005 APSR
article “Are Political Orientations Genetically Transmitted?”

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“Personal, Interpersonal, and Political Temperaments” with John R. Hibbing, Annals of the American
Academy of Political and Social Science, (November, 2007).

“Is Politics in our Genes?” with John R. Hibbing, Tidsskriftet Politik, (February, 2007).
“Biology and Rational Choice” with John R. Hibbing, The Political Economist, (Fall, 2005)

“Are Political Orientations Genetically Transmitted?” with John R. Hibbing and Carolyn Funk, American
Political Science Review, (May, 2005). (The main findings table from this article has been reprinted in two
college level text books - Psychology, 9th ed. and Invitation to Psychology 4th ed. both by Wade and Tavris,
Prentice Hall, 2007).

“The Origin of Politics: An Evolutionary Theory of Political Behavior” with John R. Hibbing, Perspectives
on Politics, (becember, 2004).

“Accepting Authoritative Decisions: Humans as Wary Cooperators” with John R. Hibbing, American Journal
of Political Science, (January, 2004).

“Electoral Convergence of the Two Houses of Congress” with John R. Hibbing, in The Exceptional Senate,
ed. Bruce Oppenheimer, Columbus: Ohio State University Press, (2002).

“We're All in this Together: The Decline of Trust in Government, 1958-1996.” in What is it About
Government that Americans Dislike?, eds. John Hibbing and Beth Theiss-Morse, Cambridge: Cambridge
University Press, (2001).

“The 2000 Census and the New Redistricting,” Texas State Bar Association School Law Section
Newsletter, (July, 2000).

“Overdraft: The Political Cost of Congressional Malfeasance” with Holly Teeters, Dan Ward, and Rick Wilson,
Journal of Politics (August, 1994).

"Personal and Partisan Advantage in U.S. Congressional Elections, 1846-1990" with David W. Brady, in
Congress Reconsidered 5th edition, eds. Larry Dodd and Bruce Oppenheimer, CQ Press, (1993).

"The 1990 Congressional Election Results and the Fallacy that They Embodied an Anti-Incumbent Mood"
with John R. Hibbing, PS 25 June, 1992).

"Constituency Population and Representation in the United States Senate" with John R. Hibbing. Legislative
Studies Quarterly, (November, 1990).

"Editors' Introduction: Electing the U.S. Senate" with Bruce 1. Oppenheimer. Legislative Studies Quarterly,
(November, 1990).

"Personal and Partisan Advantage in U.S. Congressional Elections, 1846-1990" with David W. Brady, in
Congress Reconsidered 4th edition, eds. Larry Dodd and Bruce Oppenheimer, CQ Press, (1988). Reprinted
in The Congress of the United States, 1789-1989, ed. Joel Silby, Carlson Publishing Inc., (1991), and in The
Quest for Office, eds. Wayne and Wilcox, St. Martins Press, (1991).

"Can Government Regulate Fertility? An Assessment of Pro-natalist Policy in Eastern Europe" with Jerome
Legge. The Western Political Quarterly (December, 1986).

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“Partisanship and Voting" with James Campbell, Mary Munro, and Bruce Campbell, in Research in
Micropolitics. Volume 1 - Voting Behavior. Samuel Long, ed. JAI Press, (1986).

“Economic Conditions and Individual Vote in the Federal Republic of Germany" with Jerome S. Legge.
Journal of Politics (November, 1984).

"Television Markets and Congressional Elections" with James Campbell and Keith Henry. Legislative Studies
Quarterly (November, 1984).

“Economic Conditions and the Forgotten Side of Congress: A Foray into U.S. Senate Elections" with John R.
Hibbing, British Journal of Political Science (October, 1982).

"Increased Incumbency Advantage in the IIouse" with John R. Hibbing, Journal of Politics (November,
1981). Reprinted in The Congress of the United States, 1789-1989, Carlson Publishing Inc., (1991).

"The Electoral Impact of Economic Conditions: Who is Held Responsible?” with John R. Hibbing, American
Journal of Political Science (August, 1981).

"Comment on Increased Incumbency Advantage" with John R. Hibbing, Refereed communication: American
Political Science Review (March, 1981).

"Can Government Regulate Safety? The Coal Mine Example" with Michael Lewis-Beck, American Political
Science Review (September, 1980).

Awards and Honors:

CQ Press Award - 1988, honoring the outstanding paper in legislative politics presented at the 1987 Annual
Meeting of the American Political Science Association. Awarded for "The Demise of the Upper House and
the Rise of the Senate: Electoral Responsiveness in the United States Senate" with John Hibbing,

Research Grants:

National Science Foundation, 2009-2011, “Identifying the Biological Influences on Political Temperaments”,
with John Hibbing, Kevin Smith, Kim Espy, Nicolas Martin and Read Montague. ‘I'his is a collaborative project
involving Rice, University of Nebraska, Baylor College of Medicine, and Queensland Institute for Medical
Research.

National Science Foundation, 2007-2010, “Genes and Politics: Providing the Necessary Data”, with John
Hibbing, Kevin Smith, and Lindon Eaves. This is a collaborative project involving Rice, University of
Nebraska, Virginia Commonwealth University, and the University of Minnesota.

National Science Foundation, 2007-2010, “Investigating the Genetic Basis of Economic Behavior”, with John

Hibbing and Kevin Smith. This is a collaborative project involving Rice, University of Nebraska, Virginia
Commonwealth University, and the Queensland Institute of Medical Research.

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Rice University Faculty Initiatives Fund, 2007-2009, “The Biological Substrates of Political Behavior”. This is
in assistance of a collaborative project involving Rice, Baylor College of Medicine, Queensland Institute of
Medical Research, University of Nebraska, Virginia Commonwealth University, and the University of
Minnesota.

National Science Foundation, 2004-2006, “Decision-Making on Behalf of Others”, with John Hibbing. This
is a collaborative project involving Rice and the University of Nebraska.

National Science Foundation, 2001-2002, dissertation grant for Kevin Arceneaux, “Doctoral Dissertation
Research in Political Science: Voting Behavior in the Context of U.S. Federalism."

National Science Foundation, 2000-2001, dissertation grant for Stacy Ulbig, "Doctoral Dissertation Research
in Political Science: Sub-national Contextual Influences on Political Trust."

National Science Foundation, 1999-2000, dissertation grant for Richard Engstrom, “Doctoral Dissertation
Research in Political Science: Electoral District Structure and Political Behavior."

Rice University Research Grant, 1985, Recent Trends in British Parliamentary Elections.

Faculty Research Grants Program, University of Georgia, Summer, 1982. Impact of Media Structure on
Congressional Elections, with James Campbell.

Papers Presented:

“The Physiological Basis of Political Temperaments” 6th European Consortium for Political Research General
Conference, Reykjavik, Iceland (2011), with Kevin Smith, and John Hibbing.

“Identifying the Biological Influences on Political Temperaments” National Science Foundation Annual
Human Social Dynamics Meeting (2010), with John Hibbing, Kimberly Espy, Nicholas Martin, Read Montague,
and Kevin B. Smith.

“Political Orientations May Be Related to Detection of the Odor of Androstenone” Annual meeting of the
Midwest Political Science Association, Chicago, IL (2010), with Kevin Smith, Amanda Balzer, Michael
Gruszczynski, Carly M. Jacobs, and John Hibbing.

“Toward a Modem View of Political Man: Genetic and Environmental Transmission of Political Onentations
from Attitude Intensity to Political Participation” Annual meeting of the American Political Science
Association, Washington, DC (2010), with Carolyn Funk, Kevin Smith, and John Hibbing.

“Genetic and Environmental Transmission of Political Involvement from Attitude Intensity to Political
Participation” Annual meeting of the International Society for Political Psychology, San Francisco, CA (2010),
with Carolyn Funk, Kevin Smith, and John Hibbing.

“Are Violations of the EEA Relevant to Political Attitudes and Behaviors?” Annual mecting of the Midwest
Political Sctence Association, Chicago, 1L (2010), with Kevin Smith, and John Hibbing.

“The Neural Basis of Representation” Annual meeting of the American Political Science Association, Toronto,
Canada (2009), with John Hibbing.

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“Genetic and Environmental Transmission of Value Orientations” Annual meeting of the American Political
Science Association, Toronto, Canada (2009), with Carolyn Funk, Kevin Smith, Matthew Hibbing, Pete
Hatemi, Robert Krueger, Lindon Eaves, and John Hibbing.

“The Genetic Heritability of Political Orientations: A New Twin Study of Political Attitudes” Annual Meeting
of the International Society for Political Psychology, Dublin, Ireland (2009), with John Hibbing, Cary Funk,
Kevin Smith, and Peter K Hatem.

“The Heritability of Value Orientations” Annual meeting of the Behavior Genetics Association, Minneapolis,
MN (2009), with Kevin Smith, John Hibbing, Carolyn Funk, Robert Krueger, Peter Hatemi, and Lindon Eaves.

“The Ick Factor: Disgust Sensitivity as a Predictor of Political Attitudes” Annual meeting of the Midwest
Political Science Association, Chicago, IL (2009), with Kevin Smith, Douglas Oxley Matthew Hibbing, and
John Hibbing.

“The Ideological Animal: The Origins and Implications of Ideology” Annual meeting of the American Political
Science Association, Boston, MA (2008), with Kevin Smith, Matthew Hibbing, Douglas Oxley, and John
Hibbing.

“The Physiological Differences of Liberals and Conservatives” Annual meeting of the Midwest Political Science
Association, Chicago, IL (2008), with Kevin Smith, Douglas Oxley, and John Hibbing,

“Looking for Political Genes: The Influence of Serotonin on Political and Social Values” Annual meeting of
the Midwest Political Science Association, Chicago, IL (2008), with Peter Hatemi, Sarah Medland, John
Hibbing, and Nicholas Martin.

“Not by Twins Alone: Using the Extended Twin Family Design to Investigate the Genetic Basis of Political
Beliefs” Annual meeting of the American Political Science Association, Chicago, IL (2007), with Peter Hatem,
John Hibbing, Matthew Keller, Nicholas Martin, Sarah Medland, and Lindon Eaves.

“Factorial Association: A generalization of the Fulker between-within model to the multivariate case” Annual
meeting of the Behavior Genetics Association, Amsterdam, The Netherlands (2007), with Sarah Medland, Peter
Hatemi, John Hibbing, William Coventry, Nicholas Martin, and Michael Neale.

“Not by Twins Alone: Using the Extended Twin Family Design to Investigate the Genetic Basis of Political
Beliefs” Annual meeting of the Midwest Political Science Association, Chicago, IL (2007), with Peter Hatemi,
John Hibbing, Nicholas Martin, and Lindon Eaves.

“Getting from Genes to Politics: The Connecting Role of Emotion-Reading Capability” Annual Meeting of
the Intemational Society for Political Psychology, Portland, OR, (2007.), with John Hibbing,

“The Neurological Basis of Representative Democracy.” Hendricks Conference on Political Behavior, Lincoln,
NE (2006), with John Hibbing,

“The Neural Basis of Representative Democracy" Annual meeting of the American Political Science
Association, Philadelphia, PA (2006), with John Hibbing.

“How are Political Orientations Genetically Transmitted? A Research Agenda” Annual meeting of the Midwest
Political Science Association, Chicago Ihinois (2006), with John Hibbing.

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"The Politics of Mate Choice" Annual meeting of the Southern Political Science Association, Atlanta, GA
(2006), with John Hibbing.

"The Challenge Evolutionary Biology Poses for Rational Choice" Annual meeting of the American Political
Science Association, Washington, DC (2005), with John Hibbing and Kevin Smith.

"Decision Making on Behalf of Others" Annual meeting of the American Political Science Association,
Washington, DC (2005), with John Hibbing.

“The Source of Political Attitudes and Behavior: Assessing Genetic and Environmental
Contributions" Annual meeting of the Midwest Political Science Association, Chicago Illinois (2005), with
John Hibbing and Carolyn Funk.

"The Source of Political Attitudes and Behavior: Assessing Genctic and Environmental Contributions" Annual
meeting of the American Political Science Association, Chicago Illinois (2004), with John Hibbing and Carolyn
Funk.

“Accepting Authoritative Decisions: Humans as Wary Cooperators” Annual Meeting of the Midwest Political
Science Association, Chicago, Illinois (2002), with John Hibbing

"Can We Trust the NES Trust Measure?" Annual Meeting of the Midwest Political Science Association,
Chicago, Illinois (2001), with Stacy Ulbig.

"The Impact of Organizational Structure on the Production of Social Capital Among Group Members" Annual
Meeting of the Southern Political Science Association, Adanta, Georgia (2000), with Allison Rinden.

"Isolating the Origins of Incumbency Advantage: An Analysis of House Primaries, 1956-1998" Annual Meeting
of the Southern Political Science Association, Atlanta, Georgia (2000), with Kevin Arceneaux.

"The Electorally Indistinct Senate," Norman Thomas Conference on Senate Exceptionalism, Vanderbilt
University; Nashville, Tennessee; October (1999), with John R. Hibbing.

"Interest Group Participation and Social Capital" Annual Mceting of the Midwest Political Science Association,
Chicago, Illinois (1999), with Allison Rinden.

“We're All in this Together: The Decline of Trust in Government, 1958-1996.” The Hendricks Symposium,
University of Nebraska, Lincoln. (1998)

"Constituency Population and Representation in the United States Senate,” Electing the Senate; Houston,
Texas; December (1989), with John R. Hibbing.

"The Disparate Electoral Security of House and Senate Incumbents," American Political Science Association
Annual Meetings; Atlanta, Georgia; September (1989), with John R. Hibbing.

"Partisan and Incumbent Advantage in House Elections," Annual Meeting of the Southern Political Science
Association (1987), with David W’. Brady.

"Personal and Party Advantage in U.S. House Elections, 1846-1986" with David W. Brady, 1987 Social Science
History Association Meetings.

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Department of Political Science John R. Alford 8|Page

"The Demise of the Upper House and the Rise of the Senate: Electoral Responsiveness in the United States
Senate” with John Hibbing, 1987 Annual Meeting of the American Political Science Association.

"A Comparative Analysis of Economic Voting" with Jerome Legge, 1985 Annual Meeting of the American
Political Science Association.

"An Analysis of Economic Conditions and the Individual Vote in Great Britain, 1964-1979" with Jerome Legge,
1985 Annual Meeting of the Western Political Science Association.

"Can Government Regulate Fertility? An Assessment of Pro-natalist Policy in Eastern Europe" with Jerome
Legge, 1985 Annual Meeting of the Southwestern Social Science Association.

"Economic Conditions and the Individual Vote in the Federal Republic of Germany" with Jerome S. Legge,
1984 Annual Meeting of the Southern Political Science Association.

"The Conditions Required for Economic Issue Voting" with John R. Hibbing, 1984 Annual Meeting of the
Midwest Political Science Association.

"Incumbency Advantage in Senate Elections," 1983 Annual Meeting of the Midwest Political Science
Association.

"Television Markets and Congressional Elections: The Impact of Market/District Congruence" with James
Campbell and Keith Henry, 1982 Annual Meeting of the Southern Political Science Association.

"Economic Conditions and Senate Elections” with John R. Hibbing, 1982 Annual Meeting of the Midwest
Political Science Association. "Pocketbook Voting: Economic Conditions and Individual Level Voting," 1982
Annual Meeting of the American Political Science Association.

"Increased Incumbency Advantage in the House," with John R. Hibbing, 1981 Annual Meeting of the Midwest
Political Sctence Association.

Other Conference Participation:

Roundtable Participant — Closing Round-table on Biopolitics; 2016 UC Merced Conference on Bio-Pohtics and
Political Psychology, Merced, GA.

Roundtable Participant “Genes, Brains, and Core Political Orientations” 2008 Annual Meeting of the Southwestern
Political Science Association, Las Vegas.

Roundtable Participant “Politics in the Laboratory” 2007 Annual Meeting of the Southern Political Science
Association, New Orleans.

Short Course Lecturer, "What Neuroscience has to Offer Political Science” 2006 Annual Meeting of the
American Political Science Association.

Panel chair and discussant, "Neuro-scientific Advances in the Study of Political Science” 2006 Annual Meeting
of the American Political Science Association.

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Presentation, “The Twin Study Approach to Assessing Genetic Influences on Political Behavior” Rice
Conference on New Methods for Understanding Political Behavior, 2005.

Panel discussant, "The Political Consequences of Redistricting," 2002 Annual Meeting of the American Political
Science Association.

Panel discussant, "Race and Redistricting," 1999 Annual Meeting of the Midwest Political Science Association.

Invited participant, “Roundtable on Public Dissatisfaction with American Political Institutions”, 1998 Annual
Mceting of the Southwestern Social Science Association.

Presentation, “Redistricting in the “90s,” Texas Economic and Demographic Association, 1997,
Panel chair, "Congressional Elections," 1992 Annual Meeting of the Southern Political Science Association.

Panel discussant, "Incumbency and Congressional Elections," 1992 Annual Meeting of the American Political
Science Association.

Panel chair, “Issues in Legislative Elections," 1991 Annual Meeting of the Midwest Political Science
Association.

Panel chair, "Economic Attitudes and Public Policy in Europe," 1990 Annual Meeting of the Southern Political
Science Association

Panel discussant, “Retrospective Voting in U.S. Elections,” 1990 Annual Meeting of the Midwest Political
Science Association.

Co-convener, with Bruce Oppenheimer, of Electing the Senate, a national conference on the NES 1988 Senate
Election Study. Funded by the Rice Institute for Policy Analysis, the University of Houston Center for Public
Policy, and the National Science Foundation, Houston, Texas, December, 1989.

Invited participant, Understanding Congress: A Bicentennial Research Conference, Washington, D.C.,
February, 1989.

Invited participant--Hendricks Symposium on the United States Senate, University of Nebraska, Lincoln,
Nebraska, October, 1988

Invited participant--Conference on the History of Congress, Stanford University, Stanford, California, June,
1988.

Invited participant, “Roundtable on Partisan Realignment in the 1980's”, 1987 Annual Mceting of the Southern
Political Science Association.

Professional Activities:
Other Universities:

Invited Speaker, Annual Lecture, Psi Kappa -the Psychology Club at Houston Community College, 2018.

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Invited Speaker, Annual Allman Family Lecture, Dedman College Interdisciplinary Institute, Southern
Methodist University, 2016.

Invited Speaker, Annual Lecture, Psi Sigma Alpha — Political Science Dept., Oklahoma State University, 2015.
Invited Lecturer, Department of Political Science, Vanderbilt University, 2014.
Invited Speaker, Annual Lecture, Psi Kappa -the Psychology Club at Houston Community College, 2014.

Invited Speaker, Graduate Student Colloquium, Department of Political Science, University of New Mexico,
2013.

Invited Keynote Speaker, Political Science Alumni Evening, University of Houston, 2013.

Invited Lecturer, Biology and Politics Masters Seminar (John Geer and David Bader), Department of Political
Science and Biology Department, Vanderbilt University, 2010.

Invited Lecturer, Biology and Politics Senior Seminar (John Geer and David Bader), Department of Political
Science and Biology Department, Vanderbilt University, 2008.

Visiting Fellow, the Hoover Institution, Stanford University, 2007.
Invited Speaker, Joint Political Psychology Graduate Seminar, University of Minnesota, 2007.

Invited Speaker, Department of Political Science, Vanderbilt University, 2006.

Member:
Editorial Board, Journal of Politics, 2007-2008.
Planning Committee for the National Election Studies' Senate Election Study, 1990-92.

Nominations Committee, Social Science History Association, 1988

Reviewer for:

American Journal of Political Science
American Political Science Review
American Politics Research
American Politics Quarterly
American Psychologist

American Sociological Review
Canadian Journal of Political Science
Comparative Politics

Electoral Studies

Evolution and Human Behavior
International Studies Quarterly

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Journal of Politics

Joumal of Urban Affairs
Legislative Studies Quarterly
National Science Foundation
PLoS ONE

Policy Studies Review
Political Behavior

Political Communication
Political Psychology
Political Research Quarterly
Public Opinion Quarterly
Science

Security Studies

Social Forces

Social Science Quarterly
Western Political Quarterly

University Service:

Member, University Senate, 2021-2023.

Member, University Parking Committee, 2016-2022.

Member, University Benefits Committee, 2013-2016.

Internship Director for the Department of Political Science, 2004-2018.

Member, University Council, 2012-2013.

Invited Speaker, Rice Classroom Connect, 2016.

Invited Speaker, Glasscock School, 2016.

Invited Speaker, Rice Alumni Association, Austin, 2016.

Invited Speaker, Rice Alumni Association, New York City, 2016.

Invited Speaker, Rice TEDxRiceU , 2013.

Invited Speaker, Rice Alumni Association, Adanta, 2011.

Lecturer, Advanced Topics in AP Psychology, Rice University AP Summer Institute, 2009.
Scientia Lecture Series: “Politics in Our Genes: The Biology of Ideology” 2008

Invited Speaker, Rice Alumni Association, Seattle, San Francisco and Los Angeles, 2008.
Invited Speaker, Rice Alumni Association, Austin, Chicago and Washington, DC, 2006.

Invited Speaker, Rice Alumni Association, Dallas and New York, 2005.
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Director: Rice University Behavioral Research Lab and Social Science Computing Lab, 2005-2006.

University Official Representative to the Inter-university Consortium for Political and Social Research, 1989-2012.
Director: Rice University Social Science Computing Lab, 1989-2004.

Member, Rice University Information Technology Access and Security Committee, 2001-2002

Rice University Committee on Computers, Member, 1988-1992, 1995-1996, Chair, 1996-1998, Co-chair, 1999.
Acting Chairman, Rice Institute for Policy Analysis, 1991-1992.

Divisional Member of the John W/. Gardner Dissertation Award Selection Committee, 1998

Social Science Representative to the Educational Sub-committee of the Computer Planning Committee, 1989-1990.
Director of Graduate Admissions, Department of Political Science, Rice University, 1986-1988.

Co-director, Mellon Workshop: Southern Politics, May, 1988.

Guest Lecturer, Mellon Workshop: The U.S. Congress in Historical Perspective, May, 1987 and 1988.

Faculty Associate, Hanszen College, Rice University, 1987-1990.

Director, Political Data Analysis Center, University of Georgia, 1982-1985.

External Consulting:

Expert Witness, Shafer et al v. Pearland ISD, racially polarized voting analysis, 2023.

Expert Witness, Nairne et al v. Ardoin, (Louisiana) racially polarized voting analysis, 2023.

Expert Witness, Petteway v. Galveston County, racially polarized voting analysis, 2023.

Expert Witness, Dixon v. Lewisville ISD, racially polarized voting analysis, 2022.

Expert Witness, Soto Palmer v. Hobbs, (Washington State), racially polarized voting analysis, 2022.

Expert Witmess, Pendergrass v. Raffensperger, (Georgia State House and Senate), racially polarized voting
analysis, 2022.

Expert Witness, LULAC, et al. v. Abbott, et al., Voto Latino, et al. v. Scott, et al., Mexican American Legislative
Caucus, et al. v. Texas, et al., ‘exas NAACP v. Abbott, et al., Fair Maps Texas, et al. v. Abbott, et al., US v.
Texas, et al. (consolidated cases) challenges to Texas Congressional, State Senate, State House, and State Board
of Education districting, 2022.

Expert Wimess, Robinson/Galmon v. Ardoin, (Louisiana), racially polarized voting analysis, 2022.

Expert Witness, Christian Ministerial Alliance et al v. Arkansas, racially polarized voting analysis, 2022.
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Expert Witness, Johnson v. Wisconsin Elections Commission, 2022.

Expert Witness, Rivera, et al. v. Schwab, Alonzo, et al. v. Schwab, Irick, et al. v. Schwab, (consolidated cases)
challenge to Kansas congressional map, 2022.

Expert Witness, Grant v. Raffensperger, challenge to Georgia congressional map, 2022
Expert Witness, Brooks et al. v. Abbot, challenge to State Senate District 10, 2022.
Expert Witness, Elizondo v. Spring Branch ISD, 2022.

Expert Witness, Portugal v. Franklin County, et al., challenge to Franklin County, Washington at large County
Commiussioner’s election system, 2022.

Consulting Expert, Gressman Math/Science Petitioners, Pennsylvania Congressional redistricting, 2022.

Consultant, Houston Community College — evaluation of election impact for redrawing of college board
election districts, 2022.

Consultant, Lone Star College — evaluation of election impact for redrawing of college board election districts,
2022.

Consultant, Killeen ISD — evaluation of election impact for redrawing of school board election districts, 2022.
Consultant, Houston ISD — evaluation of election impact for redrawing of school board election districts, 2022.

Consultant, Brazosport ISD — evaluation of election impact for redrawing of school board election districts,
2022.

Consultant, Dallas ISD — evaluation of election impact for redrawing of school board election districts, 2022.

Consultant, Lancaster ISD — redrawing of all school board member election districts including demographic
analysis and redrawing of election districts, 2021.

Consultant, City of Baytown — redrawing of all city council member election districts including demographic
analysis and redrawing of election districts, 2021.

Consultant, Goose Creek ISD — redrawing of all board member election districts including demographic
analysis and redrawing of election districts, 2021.

Expert Witness, Bruni et al. v. State of Texas, straight ticket voting analysis, 2020.
Consulting Expert, Sarasota County, VRA challenge to district map, 2020.

Expert Witness, Kumar v. Frisco ISD, TX, racially polarized voting analysis, 2019.
Expert Witness, Vaughan v. Lewisville ISD, TX, racially polarized voting analysis, 2019.
Expert Witness, Johnson v. Ardoin, (Louisiana), racially polarized voting analysis, 2019.

Expert Witness, Flores ct al. v. Town of Islip, NY, racially polarized voting analysis, 2018.

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Expert Witness, Tyson wv. Richardson ISD, tacially polarized voting analysis, 2018.
“ Expert Witness, Dwight v. State of Georgia, racially polarized voting analysis, 2018.
Expert Witness, NAACP v. East Ramapo Central School District, racially polarized voting analysis, 2018.

Expert Witness, Georgia NAACP v. State of Georgia, racially polarized voting analysis, 2018.

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